EXHIBIT 4
                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA

        v.                                         No. 19-cr-10080-NMG-19
(19) ROBERT ZANGRILLO,

        Defendant.


                          DISMISSAL OF ROBERT ZANGRILLO
                  FROM THE FOURTH SUPERSEDING INDICTMENT
       Pursuant to FED. R. CRIM. P. 48(a), the United States Attorney for the District of

Massachusetts hereby dismisses defendant Robert Zangril1o from the Fourth Superseding

Indictment in this matter, Dkt. 732. In support of this dismissal, the government states that the

fonner President issued a pardon to Robert Zangrillo, see Exhibit A, which he has accepted, see

Exhibit B. See United States v. Michael T. Flynn, 17-cr-00232 (EGS), -- F. Supp. 3d. --, 2020 WL

7230702, at *13-15 (D. D.C. Dec. 8, 2020) ("Once accepted, a full and absolute pardon releases

the wrongdoer from punishment[.)"); see also United States v. Wilson, 32 U.S. 150, 160 (1833)

("[A] pardon is an act of grace ... which exempts the individual on whom it is bestowed, from the

punishment the law inflicts for a crime he has committed.").

                                                    Respectfully submitted,
                                                    ANDREW E. LELLING
                                                    United States Attorney
Dated: February 9, 2021                         By: Isl Justin D. 0 'Connell
                                                    JUSTIN D. O'CONNELL
                                                    KRISTEN A. KEARNEY
                                                    LESLIE A. WRIGHT
                                                    KARIN M. BELL
Leave to File Granted:                              STEPHEN E. FRANK
                                                    Assistant United States Attorneys

    ?&ff_;;t;;;             ":i./ o/2. I
                                  l
Nathaniel M. Gorton, Judge
 United States District Court
        Case 1:19-cr-10080-NMG Document 1723 Filed 02/09/21 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

Dated: February 9, 2021                                Isl Justin D. 0 'Connell
                                                       Justin D. O'Connell
                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


                                               )
                                               )
UNITED STATES OF AMERICA                       )
                                               )
                  V.                           )
                                               )              No. 19-CR-10080-NMG
ROBERT ZANGRILLO,                              )
               Defendant                       )

_____________                                  )
                                               )

  ROBERT ZANGRILLO'S ASSENTED-TO MOTION FOR RELEASE OF BAIL AND
                       RETURN OF PASSPORT

       Now comes the Defendant Robert Zangrillo, by and through undersigned counsel, and

hereby respectfully moves this Honorable Court for an Order directing the Clerk for the District of

Massachusetts to release Mr. Zangrillo's $50,000 cash bond and to return his passport.

       On March l l, 2019, Mr, Zangrillo was charged by Criminal Complaint in the instant matter.

See Dkt. 3. On March 12, 2019, Mr. Zangrillo was arrested in the Southern District of Florida and

released pursuant to a $500,000 appearance bond of which 10% (or $50,000) was to be collateralized

with cash. See United States v. Zan6"'1·illo, 19-mj-02297-JJO, Dkt. 6. Consistent with his conditions

of release, Mr. Zangrillo deposited $50,000 with the Southern Dist1ict of Florida and also

surrendered his passpo11. See id. On March 29, 2019, Mr. Zangrillo's appearance bond was adopted

by Chief Magistrate Judge Kelley and transferred to the District of Massachusetts. See Dkt, 268 and

269.

        On January 20, 2021, Mr. Zangrillo was granted a pardon by the former President of the

United States. Pursuant to Fed. R. Crim. P. 48(a), the Govemm.ent requested this Honorable Court to

dismiss the charges pending against Mr. ZangriHo on February 9, 2021. See Dkt. 1723. This
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Honorable Court granted leave to dismiss on February 10, 2021. See Dkt. 1725. Accordingly, no

further bail is necessary to secure Mr. Zangrillo's pretrial release.

        WHEREFORE, the defense respectfully requests this Honorable Court to issue an Order

directing the Clerk for the District of Massachusetts to release Mr. Zangrillo's $50,000 cash bond and

to return his passport.

                          COMPLIANCE WITH LOCAL RULE 7.l(a)(2)

        Undersigned counsel confened with counsel for the Govemment and the Government, by

and through AUSA Justin O'Connell, assents to the instant request.


                                                       Respectfully Submitted,

                                                       /s/ Martin G. Weinberg
                                                       Martin G. Weinberg
                                                       Mass. Bar No. 519480
                                                       20 Park Plaza, Suite 1000
                                                       Boston, MA 02116
                                                       (617) 227-3700
                                                       owlmgw@att.net


Dated: February 10, 2021



                                  CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, February 10, 2021, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.



                                                        /s/ Martin G. Weinbere;
                                                        Martin G. Weinberg
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                 DONALD J. TRUMP
     President of the United States of America

         TO ALL TO WHOM TBE$E PRESENTS SHALL COl\lIE;, GREETING:

      BE IT KNOWN, THAT THIS DAY THE PRESIDENT BAs GRANTED UNTO

                               ROBERT ZANGRILLO

                    A FULL AND UNCONDITIONAL PARDON

       FOR OFFENSES CHARGED in the United States District Court for the District of
Massachusetts in a fourth superseding indictment {Docket No. 19-10080~NMG) charging
violationsofSectfons2,371,981(a)(l)(C),982(a)(1)~ l.343, 1346. 1349,and 1956(h), Title 18,
and Section2461(c), Title 28, United States Code.

       THE PRESIDENT BAS DESIGNATED, directed and empowered the Acting Pardon
Attorney, as his representative to execute this grant ofexecutive clemency.


                                                  In accordance with these instrttctf<>ns and authority, J
                                                  have cmtsed the seal ofthe Depanment ofJustice ti)
                                                  he affixed hereto and aj]irm that this action is the act
                                                  ofthe President beingpe,formed at his dtrel·tion,

                                                  Done at the City of Washing/on, Distn'ct of
                                                  Columbia, on January 29, 2021.

                                                  BY DIREcnoN OF THE PRESIDENT




                                                            Acting Pardon Attorney
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O'Connell, Justin (USAMA)

From:               Martin G. Weinberg <owlmgw@att.net>
Sent:               Tuesday, February 9, 2021 12:25 PM
To:                 O'Connell, Justin (USAMA)
Cc:                 owlmgw@att.net
Subject:            US v Colburn {Zangrillo)


Dear Mr O'Connell
As I have advised you, Defendant Robert Zangrillo accepts the Warrant of Pardon that we both recently accessed from
the Pardon Office (and that I recently received by fedex). Mr Zangrillo has also signed an Acceptance of the Warrant of
Pardon which I have transmitted by email to the Acting Pardon Attorney.
 Accordingly, we request that the Government dismiss him from the Fourth Superseding Indictment
Thanks
Martin Weinberg

Martin G. Weinberg, Esq.
20 Park Plaza
Suite 1000
Boston, MA 02116
(617) 227-3700 - Office
(617) 901-3472 - Cell
----------------------------------This Electronic Message contains information from the Law Office
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                  DONALD J. TRUMP
     President of the United States o/America

          To ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

      BE IT KNOWN, THAT Tms DAY THE PRESIDENT HAS GRANTED UNTO

                                 ROBERT ZANGRILLO

                     A FULL AND·UNCONDITIONAL PARDON

      FOR OFFENSES CHARGED in the United States District Court for the District of
Massachusetts in a fourth superseding indictment (Docket No. 19-10080-NMG) charging
violations of Sections 2,371, 981(a)(l)(C), 982(a)(l), 1343, 1346, 1349, and 1956(h), Title 18,
and Section 246l(c), Title 28, United States Code.

       THE PRESIDENT HAS DESIGNATED, directed and empowered the Acting Pardon
Attorney, as his representative to execute this grant of executive clemency.


                                                    In accordance with these ins1ruclions. ~ authority; 1
                                                    have caz,sed the .seal ofthe Department of.Justice to
                                                    be affixed hereto and t:t/firm that this action is the act
                                                    ofthe President being performed tit his direction.

                                                    Done at the Cit,;,, of Washington, District of
                                                    Columbia. on January 29, 202 l.

                                                    BY DIRECTION OF THE PRESIDENT




                                                              Acting Pardon Attomey
       Case 1:19-cr-10080-NMG Document 1723 Filed 02/09/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

Dated: February 9, 2021                           Isl Justin D. 0 'Connell
                                                  Justin D. O'Connell
